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                                  UNITED STATES JUDICIAL PANEL
                                               on
                                   MULTIDISTRICT LITIGATION


IN RE: EQUIFAX, INC., CUSTOMER DATA
SECURITY BREACH LITIGATION
      Kozlowski v. Bank of America, N.A., ct a].,                     )
            E.D. California, C.A. No. 1:18-0013 1                     )               MDL No. 2800


               CONDITIONAL TRANSFER ORDER (CTO 12)
    AND SIMULTANEOUS SEPARATION AND REMAND OF CERTAIN CLAIMS


On December 6, 2017, the Panel transferred 76 civil action(s) to the United States District Court for
the Northern District of Georgia for coordinated or consolidated pretrial proceedings pursuant to 28
U.S.C. § 1407. See _F.Supp.3d_ (J.P.M.L. 2017). Since that time, 178 additional action(s) have
been transferred to the Northern District of Georgia. With the consent of that court, all such actions
have been assigned to the Honorable Thomas W. Thrash, Jr.

It appears that the action on this conditional transfer order comprises claims relating to: (1)
allegations concerning the recent cybersecurity incident involving Equifax in which the personally
identifiable information of more than 145 million consumers was compromised, which involve
questions of fact that are common to the previously transferred MDL No. 2800 actions; and (2)
allegations concerning plaintiffs dispute of an account with defendant Bank of America, N.A., and
allegations that defendants reported inaccurate credit information, which do not involve such
common questions of fact.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Litigation, this action is transferred under 28 U.S.C. § 1407 to the Northern District of Georgia for
the reasons stated in the order of December 6, 2017, and, with the consent of that court, assigned to
the Honorable Thomas W. Thrash, Jr. All counts except the Ninth cause of action in this action,
which is the only count that relates to the recent Equifax data breach, are separated and
simultaneously remanded to the Eastern District of California

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Northern District of Georgia. The transmittal of this order to said Clerk shall
be stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of
the Panel within this 7—day period, the stay will be continued until fhrther order of the Panel.
      Inasmuch us no objection,
      pending at Ihie time, the
      eleyis lifted.                                FOR THE PANEL:
        Mar 20, 2018                                ~ A TRUE COPY

                                                                                      CERTIFIED THIS
                                                       Clerk of the Panel
                                                                                         MAR 202018
